
In re Dickerson, Levy E. IV; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. C, No. 98-797; to the Court of Appeal, Fifth Circuit, No. 03-KH-969.
Denied. Petitioner fails to show that he filed an application for post-conviction relief that was denied in an order that did not conform to the requirements of La. Const. art. V section 8(B). La.C.Cr.P. art. 930.2; cf. State v. Cordero, 08-1717 (La.10/3/08), 993 So.2d 203.
*755JOHNSON, J., would deny on the showing made.
WEIMER, J., concurs in the denial.
